Case 17-33512-VFP         Doc 116      Filed 01/23/19 Entered 01/23/19 15:23:09              Desc Main
                                      Document      Page 1 of 1




                         NOTICE TO U.S. TRUSTEE OF CHANGE OF
                             NO-ASSET CHAPTER 7 CASE TO
                                ASSET CHAPTER 7 CASE


         The following No-Asset Chapter 7 case should be designated as an Asset Chapter 7 Case:

                 Case Name:                              In re: Jovan Skeparoski
                 Case No.:                               17-33512 (VFP)
                 Amount of Funds on Hand:                $0.00

         If there are no funds on hand, but assets that will produce funds for this estate, indicate actual
 or estimate value of assets:

                 Actual Value: Undetermined

                 Estimated Value: Undetermined



                                                 /s/ Eric R. Perkins
                                                 ERIC R. PERKINS



 Dated: January 23, 2019
